
607 So.2d 558 (1992)
SUNLAKE APARTMENT RESIDENTS
v.
TONTI DEVELOPMENT CORPORATION and United States Fidelity and Guaranty Company.
Daniel R. ROBERTS, Sr.
v.
UNITED STATES FIDELITY AND GUARANTY COMPANY.
Robert T. TONTI, Margaret W. Tonti and Fidelity &amp; Guaranty Insurance Underwriters, Inc.
v.
The FEDDERS CORPORATION, Glindmeyer Distributing Company Inc. and Gerrard Raymond and/or Gerrard Raymond, Inc.
FIREMAN'S FUND INSURANCE COMPANY OF LOUISIANA
v.
TONTI DEVELOPMENT CORPORATION, Tonti Management Corporation, Robert Tonti, United States Fidelity and Guaranty Company and Fedders Corporation.
No. 92-C-2578.
Supreme Court of Louisiana.
November 20, 1992.
Denied.
